Case 18-12387-whd   Doc 32   Filed 05/03/19 Entered 05/03/19 11:53:54   Desc Main
                             Document     Page 1 of 5




   IT IS ORDERED as set forth below:



   Date: May 3, 2019                     ___________________________

                                                   W. Homer Drake
                                             U.S. Bankruptcy Court Judge
  _______________________________________________________________
Case 18-12387-whd   Doc 32   Filed 05/03/19 Entered 05/03/19 11:53:54   Desc Main
                             Document     Page 2 of 5
Case 18-12387-whd   Doc 32   Filed 05/03/19 Entered 05/03/19 11:53:54   Desc Main
                             Document     Page 3 of 5
Case 18-12387-whd   Doc 32   Filed 05/03/19 Entered 05/03/19 11:53:54   Desc Main
                             Document     Page 4 of 5
Case 18-12387-whd   Doc 32   Filed 05/03/19 Entered 05/03/19 11:53:54   Desc Main
                             Document     Page 5 of 5
